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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO
                              Judge William J. Martínez

Civil Action No. 21-cv-1708-WJM-MDB

ESTATE OF CHAD ALEXANDER BURNETT,

        Plaintiff,

v.

CITY OF COLORADO SPRINGS;
JOSEPH DAIGLE, in his individual capacity;
MICHAEL INAZU, in his individual capacity;
MATTHEW FLEMING, in his individual capacity; and
CAROLINE BARTH, in her individual capacity,

        Defendants.


            ORDER GRANTING IN PART AND DENYING IN PART MOTION
            TO EXCLUDE EXPERT TESTIMONY OF LUCAS HENNINGS, MD


        Before the Court is the Estate of Chad Alexander Burnett’s (the “Estate”) Motion

to Exclude Expert Testimony of Lucas Hennings, MD (“Motion”) (ECF No. 81.) Officer

Joseph Daigle, Sergeant Michael Inazu, Officer Matthew Fleming, and Officer Caroline

Barth, individually (the “Officers” or the “Individual Defendants”) and the City of

Colorado Springs’ (the “City”) (collectively, “Defendants”) filed a response (ECF No. 88),

to which the Estate filed a reply (ECF No. 96).

        Defendants request a Daubert hearing “to the extent necessary to aid the Court’s

determination.” (ECF No. 88 at 8.) The Court finds it does not need one to resolve the

Motion. For the reasons explained below, the Motion is granted in part and denied in

part.
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                                   I. LEGAL STANDARD

        Rule 702 of the Federal Rules of Evidence provides that:

               A witness who is qualified as an expert by knowledge, skill,
               experience, training, or education may testify in the form of
               an opinion or otherwise if: (a) the expert’s scientific,
               technical, or other specialized knowledge will help the trier of
               fact to understand the evidence or to determine a fact in
               issue; (b) the testimony is based on sufficient facts or data;
               (c) the testimony is the product of reliable principles and
               methods; and (d) the expert has reliably applied the
               principles and methods to the facts of the case.

Fed. R. Evid. 702; see also Daubert v. Merrell Dow Pharms., Inc., 509 U.S. 579, 590–91

(1993). “[Rule] 702 imposes upon the trial judge an important ‘gate-keeping’ function

with regard to the admissibility of expert opinions.” Mathis v. Huff & Puff Trucking, Inc.,

787 F.3d 1297, 1307 (10th Cir. 2015) (citation omitted). When an expert opinion is

challenged, “[t]he proponent of the expert testimony bears the burden of showing that its

proffered expert’s testimony is admissible” by establishing that the admissibility

requirements are met by a preponderance of the evidence. United States v. Nacchio,

555 F.3d 1234, 1241 (10th Cir. 2009); Fed. R. Evid. 702, advisory committee’s note

(2000 amendment). To determine whether an expert opinion is admissible, the Court

must perform a “two-step analysis.” Roe v. FCA US LLC, 42 F.4th 1175, 1180 (10th

Cir. 2022).

        First, the Court must determine whether the expert is qualified by “knowledge,

skill, experience, training, or education” to render an opinion. Id. (quoting Fed. R. Evid.

702).

        Second, if the expert is sufficiently qualified, the proffered opinions must be

assessed for reliability. Roe, 42 F.4th at 1180–81; Fed. R. Evid. 702(b)–(d) (requiring

that the testimony be “based on sufficient facts or data,” be the “product of reliable


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principles and methods,” and reflect a reliable application of “the principles and methods

to the facts of the case”). “Expert testimony based on experience alone must reveal

how the experience led to the expert’s conclusion, why the experience is a ‘sufficient

basis for the opinion,’ and how the experience was reliably applied.” United States v.

Martinez, 88 F.4th 1310, 1314 (10th Cir. 2023) (quoting United States v. Medina-

Copete, 757 F.3d 1092, 1104 (10th Cir. 2014)). “Establishing reliability does not require

showing that the expert’s testimony is ‘indisputably correct.’” United States v. Pehrson,

65 F.4th 526, 540 (10th Cir. 2023). However, “nothing in either Daubert or the Federal

Rules of Evidence requires a district court to admit opinion evidence that is connected

to existing data only by the ipse dixit of the expert. A court may conclude that there is

simply too great an analytical gap between the data and the opinion proffered.” Roe, 42

F.4th a 1181. “[T]he trial judge must have considerable leeway in deciding in a

particular case how to go about determining whether particular expert testimony is

reliable.” Kumho Tire Co. v. Carmichael, 526 U.S. 137, 152 (1999).

       The court must also ensure that the proffered testimony is relevant and will assist

the trier of fact. Id. at 156; United States v. Rodriguez-Felix, 450 F.3d 1117, 1122–23

(10th Cir. 2006). “Relevant expert testimony must logically advance[] a material aspect

of the case and be sufficiently tied to the facts of the case that it will aid the jury in

resolving a factual dispute.” United States v. Garcia, 635 F.3d 472, 476 (10th Cir. 2011)

(quotations and citations omitted). In assessing whether expert testimony will assist the

trier of fact, a court should also consider “whether the testimony ‘is within the juror’s

common knowledge and experience,’ and ‘whether it will usurp the juror’s role of

evaluating a witness’s credibility.’” Id. at 476–77 (quoting Rodriguez-Felix, 450 F.3d at




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1123).

         Finally, Federal Rule of Evidence 403 permits a court to “exclude relevant

evidence if its probative value is substantially outweighed by a danger of one or more of

the following: unfair prejudice, confusing the issues, misleading the jury, undue delay,

wasting time, or needlessly presenting cumulative evidence.” Fed. R. Evid. 403.

                                         II. ANALYSIS

         Defendants retained Lucas Hennings, MD, an emergency medicine physician

(see ECF No. 81-1 at 2),1 to opine on Burnett’s cause of death. Dr. Hennings provides

12 opinions on various topics pertaining to Burnett’s cause of death in a peculiar and, in

the undersigned’s experience, unprecedented question-and-answer format, which in the

Court’s view does not readily grapple with the various factors at issue in Daubert and

Kumho Tire analyses. (See generally id. at 3–14.) In any event, Dr. Hennings draws

exclusively from the “available records, [his] education, [his] training, and [his]

experience.” (Id. at 15.) The Estate seeks to exclude seven of Dr. Hennings’s proffered

opinions, as further discussed below.

A.       Officers’ Role in Burnett’s Death

         The Estate first seeks to exclude Dr. Hennings’s opinion pertaining to the

Officers’ role in Burnett’s death:

                3.     What role, if any, did Colorado Springs police
                officers play in Mr. Burnett’s death?

                Mr. [Burnett’s] unfortunate death was not the fault of
                Colorado Springs police officers. He did die during contact
                with them, but this does not mean that police officers caused
                his death. Mr. Burnett went into cardiac arrest from an

         1 All citations to docketed materials are to the page number in the CM/ECF header,

which sometimes differs from a document’s internal pagination.



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              abnormal heart rhythm. He was acutely psychotic and
              agitated long before the police officers arrived. He was
              found to have a heart that was diseased with abnormal
              enlargement and stiffness of the muscles of the heart which
              put him at significant risk of sudden cardiac death. This is
              regardless of police contact. He was at significant risk at
              any time, and numerous benign events could have resulted
              in sudden cardiac death. The evidence shows that the
              police did not strangulate or asphyxiate Mr. Burnett. The
              evidence also shows that he did not sustain significant
              trauma as a result of police contact. There is no evidence of
              severe brain bleeding, blood loss, significant traumatic injury
              to vital organs from initial police contact.

(ECF No. 81-1 at 12.)

       The Estate first challenges Dr. Hennings’s qualifications as an emergency

medicine physician to render opinions as to whether Burnett would have died

“regardless of police contact,” that “he was at risk at any time, and numerous benign

events could have resulted in cardiac death,” and that Burnett’s mental health—i.e., his

alleged “acutely psychotic and agitated” state—led to a fatal heart rhythm. (ECF No. 81

at 4.) Defendants counter that Dr. Hennings’s opinion is based on his years of

experience “evaluating and treating acutely psychotic, agitated, intoxicated, and

combative patients.” (ECF No. 88 at 4 (quoting No. 81-1 at 2).)

       Although Dr. Hennings’s description of his expertise is wanting for specificity, the

Court agrees with Defendants that his training and practice as an emergency medicine

physician qualifies him to testify as to whether Burnett exhibited psychiatric symptoms.2

See, e.g., Joseph v. Doe, 542 F. Supp. 3d 433, 438 (E.D. La. 2021) (finding physician

whose “training is in emergency medicine and medical toxicology” and “deals with


       2 By contrast, the Court does not believe Defendants have established Dr. Hennings is

qualified to render any psychiatric diagnoses of Burnett and he will be precluded from doing so
at trial.



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patients suffering acute psychosis” was “qualified by training and experience to testify”);

see also In re Picard, 640 B.R. 545, 552–53 (Bankr. E.D. Pa. 2022) (while not expressly

considering admissibility under Rule 702, noting testimony of “expert in diagnosing

acute psychiatric conditions in the practice of emergency medicine and emergency

treatment”); Cerbelli v. City of New York, 600 F. Supp. 2d 405, 427–28 (E.D.N.Y. 2009)

(similarly, noting emergency medicine expert’s declaration that plaintiff “did not exhibit

any signs of psychosis or any symptoms warranting psychiatric consultation or

treatment” on summary judgment). The Court also finds that Dr. Hennings’s is

sufficiently qualified as an emergency medicine physician to opine as to whether a

person’s psychiatric symptoms or emotional state can exacerbate an emergent heart

condition.

       Nevertheless, the Estate argues that Dr. Hennings’s third opinion “is not the

product of reliable principles and methods.” (ECF No. 81 at 4.) Specifically, it contends

“[h]ow Mr. Burnett could have died is speculative and not based on any accepted or

reliable methodology.” (Id.) Defendants counter that Dr. Hennings’s observation that

Burnett was “acutely psychotic and agitated prior to the struggle was apparent from

watching the body-worn camera [‘BWC’] footage and,” again, “based on years

‘evaluating and treating acutely psychotic, agitated, intoxicated, and combative

patients.’” (ECF No. 88 at 4 (quoting ECF No. 81-1 at 2).) Defendants also assert that

Dr. Hennings’s opinion is reliable because it “accounts for alternative explanations”

insofar as he “noted a lack of evidence to support . . . strangulation or asphyxia, brain

bleeding, blood loss or traumatic injury to vital organs.” (ECF No. 88 at 4 (citing ECF

No. 81-1 at 12; Etherton v. Owners Ins. Co., 829 F.3d 1209, 1221 (10th Cir. 2016)




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(“This court has recognized that differential diagnosis can reliably determine

causation.”)).)

       As noted, “[e]xpert testimony based on experience alone must reveal how the

experience led to the expert’s conclusion, why the experience is a ‘sufficient basis for

the opinion,’ and how the experience was reliably applied.” Martinez, 88 F.4th at 1314

(quoting Medina-Copete, 757 F.3d at 1104). Here, the Court agrees with the Estate that

Dr. Hennings’s has failed to “provide a fulsome explanation of how [he] applied his . . .

experience or knowledge to the facts at hand.” Lieberenz v. Bd. of Cnty. Comm’rs of

Cnty. of Saguache, Colo., 2025 WL 35601, at *14 (D. Colo. Jan. 6, 2025); see also

Troudt v. Oracle Corp., 369 F. Supp. 3d 1134, 1139 (D. Colo. 2019) (“Experience is not

a methodology. Methodology is the process by which the expert relates his experience

to the facts at hand in order to reach an expert opinion.”). Dr. Hennings has not

explained how, based on his experience, he reached the broad conclusion that

Burnett’s alleged heart condition meant he “was at significant risk at any time, and

numerous benign events could have resulted in sudden cardiac death.” (ECF No. 81-1

at 12.) Nor has he explained how, based on his experience, he reached the conclusion

that Burnett’s “acutely psychotic and agitated” state contributed to his “abnormal heart

rhythm.” (Id.) These analytical gaps in Dr. Hennings’s proffered opinion are simply “too

broad for [his] testimony to endure under the strictures of Daubert and Rule 702.”

Mitchell v. Gencorp Inc., 165 F.3d 778, 783 (10th Cir. 1999).

       The Motion is therefore granted to the extent that Dr. Hennings will be precluded

from testifying at trial that (1) “[Burnett] was at significant risk at any time, and numerous

benign events could have resulted in sudden cardiac death” “regardless of police




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contact;” and (2) Burnett’s “acutely psychotic and agitated” state contributed to his

abnormal heart rhythm. (ECF No. 81-1 at 12.) The Motion is denied as to all other

portions of Dr. Hennings’s third opinion.

B.     Whether Preexisting Conditions Contributed to Burnett’s Death

       The Estate also seeks to exclude the second paragraph of Dr. Hennings’s fourth

opinion concerning whether Burnett had any preexisting conditions which contributed to

his death:

              4.     What preexisting conditions did Mr. Burnett have
              that contributed to or caused his death?

              ...

              Mr. Burnett was . . . previously diagnosed with bipolar
              disorder. He was clearly manic, agitated, and combative
              prior to any police interaction. His bipolar with acute
              psychosis already resulted in a very agitated state, and most
              likely caused his heart to race rapidly. This combined with
              the myocardial fibrosis and cardiac hypertrophy was a
              dangerous combination, leading to a fatal heart rhythm.

(ECF No. 81-1 at 13.)

       As to the Estate’s assertion that Dr. Hennings “is not qualified to render opinions

on whether [] Burnett’s mental health contributed to his ultimate death” (ECF No. 81 at

5), the Court adopts the reasoning set forth above with respect to Dr. Hennings’s third

opinion.

       The Estate also challenges Dr. Hennings’s fourth opinion as “speculative” and

“not based on reliable methods or data nor evidence in the record.” (ECF No. 81 at 5.)

Specifically, the Estate contends “[t]here is no reliable data or other basis for Dr.

Hennings’[s] opinion that [] Burnett’s bipolar disorder and purported acute psychosis

‘most likely caused his heart to race rapidly.’” (ECF No. 81 at 5 (quoting ECF No. 81-1



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at 13).) Defendants counter that Dr. Hennings appropriately drew from his review of

medical records, which indicated that “Burnett was . . . previously diagnosed with bipolar

disorder,” his own review of the BWC footage, and “the condition of [Burnett’s] heart

after his passing.” (ECF No. 81-1 at 13.) Based on this evidence and his experience

“evaluating and treating acutely psychotic, agitated, intoxicated, and combative

patients,” Dr. Hennings concluded “that Burnett’s agitated state would increase his heart

rate to a deadly level.” (ECF No. 88 at 5.)

       The Court finds there is a sufficient basis for Dr. Hennings’s observation that

Burnett was previously diagnosed with bipolar disorder to the extent it is documented in

the medical records reviewed by Dr. Hennings. But here again, the Court is troubled by

the lack of explanation Dr. Hennings has provided for the analytical leap between his

observations of Burnett’s “bipolar [disorder] with acute psychosis” and “very agitated

state” with his conclusion that Burnett had “a fatal heart rhythm.” (ECF No. 81-1 at 13.)

In other words, Dr. Hennings’s opinion wholly lacks an explanation of the reasoning for

his opinion that Burnett’s psychiatric or emotional state negatively impacted his heart

rate. Rather, his proffered opinion on the cause of Burnett’s “fatal heart rhythm” “is

connected to existing data only by the ipse dixit of the expert.” Gen. Elec. Co. v. Joiner,

522 U.S. 136, 146 (1997).

       The Motion is therefore granted to the extent that Dr. Hennings seeks to testify

that Burnett’s “bipolar [disorder] with acute psychosis already resulted in a very agitated

state, and most likely caused his heart to race rapidly,” which “combined with the

myocardial fibrosis and cardiac hypertrophy was a dangerous combination, leading to a

fatal heart rhythm.” (ECF No. 81-1 at 13.)




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C.     Officers’ Knowledge of Preexisting Conditions

       The Estate seeks to exclude Dr. Hennings’s opinion pertaining to whether the

Officers should have known about Burnett’s alleged preexisting heart condition:

              5.    Should the police officers have known about the
              preexisting condition?

              The answer to this question is no. There was nothing in Mr.
              Burnett's prior medical records that indicated his heart
              disease. This could not have been known by his outward
              appearance or behavior. There is no way that police officers
              could have known that he had an enlarged and stiff heart.

(ECF No. 81-1 at 13.)

       The Estate asserts that Dr. Hennings’s fifth opinion “is outside the scope of [his]

expertise” and that “testimony about what the defendant officers should or should not

have known is not relevant and is confusing to the jury.” (ECF No. 81 at 5.)

Specifically, the Estate asserts Dr. Hennings’s fifth opinion confuses “the issue of

whether [] Burnett was unconscious and not breathing, and therefore required medical

attention,” on the one hand, “with whether he had an enlarged heart and therefore

needed medical attention,” on the other. (ECF No. 81 at 5.)

       The Court agrees that Dr. Hennings’s fifth opinion is inadmissible to the extent it

seeks to establish whether certain information was within the Officers’ personal

knowledge. Apart from the fact that as an after-the-fact record review expert Dr.

Hennings would have no basis to know the extent of the Officers’ personal knowledge,

such a statement would in any event be a statement of fact, and not an opinion which

would require Dr. Hennings’s “scientific, technical, or other specialized knowledge.”

Fed. R. Evid. 702(a).




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       The Court is also reluctant to permit Dr. Hennings to testify as to whether there

were any outwardly detectable symptoms associated with Burnett’s alleged heart

condition in large part because Defendants have failed to establish its relevance.

Defendants argue only that “[w]hether and when officers knew or should have known []

Burnett was experiencing a medical event brought about by cardiac arrest is a disputed

issue in this suit.” (ECF No. 88 at 5.) But Dr. Hennings’s fifth opinion does not speak to

whether Burnett exhibited detectable symptoms of a “medical event brought about by

cardiac arrest” in the minutes before his death3—or as the Estate asserts in its

Amended Complaint, whether “[t]he deterioration in Mr. Burnett’s condition was so

obvious that any officer should have recognized it.” (ECF No. 29 at ¶ 167.) Rather, Dr.

Hennings opines on whether the Officers should have known Burnett had a latent heart

condition before any emergent “medical event” even occurred. The Court does not

understand any claim in this case to turn on that issue.4 And to the extent it has some

marginal relevance, the Court agrees with the Estate that it is likely to cause confusion

for the jury. See Fed. R. Evid. 403.

       For these reasons, the Motion is granted as to Dr. Hennings’s fifth opinion in its

entirety.5




       3 Notably, the Estate also contests that the issue before the jury is “whether [] Burnett

was ‘experiencing a medical event brought by cardiac arrest’ and therefore needed medical
attention.” (ECF No. 96 at 3.) Instead, it characterizes the relevant issue as “whether [] Burnett
was unconscious and not breathing, and therefore required medical attention.” (Id.)
       4 Indeed, the Estate appears to contest whether Burnett even had any preexisting heart

condition. (See generally ECF No. 79-1.)
       5 The Court does not reach the issue of whether Dr. Hennings’s opinion is “based on

reliable data and methodology.” (ECF No. 81 at 5.)



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D.     Role of Alcohol and Drugs in Burnett’s Death

       The Estate next seeks to exclude Dr. Hennings’s opinion concerning the role of

alcohol and drugs in Burnett’s death:

              8.   What role did alcohol and drugs play in Mr.
              Burnett’s death?

              Mr. Burnett had evidence of alcohol and marijuana in his
              system. These alone could elevate his heart rate and cause
              agitation resulting in sudden death. While unlikely that they
              alone would have caused his death, they have a very high
              likelihood of being contributing factors to the overall state
              that led to sudden cardiac death.

(ECF No. 81-1 at 14.)

       The Estate argues that “Dr. Henning[s] is not a toxicologist or forensic pathologist

and is therefore not qualified to render an opinion on whether alcohol or marijuana

played a role in [] Burnett’s death.” (ECF No. 81 at 6.) Defendants counter that “Dr.

Hennings does not need to be a toxicologist or a forensic pathologist to opine that

alcohol and marijuana could elevate a heart rate, cause agitation, and could have been

‘contributing factors’ to [] Burnett’s overall state.” (ECF No. 88 at 6.) Defendants again

rely on Dr. Hennings’s general description of his “extensive experience evaluating and

treating acutely psychotic, agitated, intoxicated, and combative patients” as sufficient to

establish his qualifications. (ECF No. 81-1 at 2.)

       Dr. Hennings’s description of his qualifications to testify on this issue are, once

again, frustratingly bare. Nonetheless, the Court assumes that Dr. Hennings’s 13 years

of experience as a practicing emergency medicine physician, during which he has

treated many “intoxicated” patients, renders him sufficiently qualified to render an

opinion on this issue. See Lurry v. City of Joliet, 2023 WL 2138763, at *3 (N.D. Ill. Feb.

21, 2023) (finding physician trained in emergency medicine and forensic medicine


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qualified to testify as to whether narcotics contributed to decedent’s death).

       Even so, Dr. Hennings’s eighth opinion is still unreliable. Defendants argue only

that his opinion is reliable because “[t]he autopsy report, which Dr. Hennings reviewed,

noted the presence of both substances.” (ECF No. 88 at 6.) But Dr. Hennings’s does

not explain why his experience led him to the conclusion that the presence of alcohol

and marijuana in Burnett’s system “could elevate his heart rate and cause agitation

resulting in sudden death,” and the Court is not inclined to take his word for it. Roe, 42

F.4th at 1181 (“nothing in either Daubert or the Federal Rules of Evidence requires a

district court to admit opinion evidence that is connected to existing data only by the

ipse dixit of the expert”). The Court is also troubled that Dr. Hennings does not even

attempt to tether his conclusions to the known amount of either substance detected in

Burnett’s system, particularly in view of Burnett’s stature.6 In sum, the Court again finds

“there is simply too great an analytical gap between the data and the opinion proffered.”

Id.

       For these reasons, with respect to Dr. Henning’s eighth opinion, the Motion is

granted to the extent that Dr. Henning seeks to testify that the alcohol and marijuana

detected in Burnett’s system “alone could elevate his heart rate and cause agitation

resulting in sudden death” or that “[w]hile unlikely that they alone would have caused his

death, they have a very high likelihood of being contributing factors to the overall state

that led to sudden cardiac death.” (ECF No. 81-1 at 14.)


       6 The Court acknowledges that Defendants moved to exclude various opinions proffered

by the Estate’s medical expert on the ground that his opinions were not based on any lab results
measuring Burnett’s biochemical markers. (See generally ECF No. 79.) But here, the amount
of ethanol and THC detected in Burnett’s system was readily available to Dr. Hennings. Indeed,
he noted those figures in his “Overview” of the case. (ECF No. 81-1 at 10.)



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E.     Whether a Different Inciting Event Could Have Caused Burnett’s Death

       The Estate next seeks to exclude Dr. Hennings’s opinion that Burnett’s death

could have been caused by a “different inciting event”:

              9.    Could Mr. Burnett have died from the same cause
              but with a different inciting event?

              Yes, in fact, the list of potential events that could lead to
              abnormal cardiac rhythm and sudden cardiac death in Mr.
              Burnett are quite literally endless. Anything that could
              elevate his heart rate could have resulted in deterioration
              with his preexisting heart condition. Examples include but
              are not limited to running, engaging in sports, having an
              argument with somebody, having a psychotic event, drugs or
              alcohol, high elevation, and infections or other illnesses. Mr.
              Burnett was an avid cyclist and reportedly loved hockey.
              Engaging in the very activities that he loved could have
              caused him to develop a fatal heart dysrhythmia as well.

(ECF No. 81-1 at 14.)

       The Estate challenges Dr. Hennings’s opinion “that there is a ‘literally endless’

amount of potential causes of [] Burnett’s death” on multiple grounds, including that it “is

not based on sufficient facts or data,” it “does not utilize any specialized or scientific

knowledge to help with the trier of fact or determine any issue,” it is “not the product of

reliable principles and methods[] as it is purely speculative,” and its “probative value, if

any, of the opinion is outweighed by confusing the issues and misleading the jury.”

(ECF No. 81 at 6–7.) Of all these points, the Court is most persuaded by the Estate’s

argument that the opinion would not be helpful to the jury because it is not based on any

scientific or specialized knowledge.

       Under Rule 702, scientific knowledge “implies a grounding in the methods and

procedures of science” which must be based on actual knowledge and not “subjective

belief or unsupported speculation.” Daubert, 509 U.S. at 590. Defendants argue Dr.



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Hennings’s opinion “that any activity ‘that could elevate [Burnett’s] heart rate could have

resulted in deterioration with his preexisting heart condition’” was “drawn on the specific

condition of Mr. Burnett’s heart” and “an understanding of the types of activities which

would trigger a fatal cardiac dysrhythmia . . . .” (ECF No. 88 at 7 (quoting ECF No. 81-1

at 14).) But Dr. Hennings’s does not tether his opinion that “[a]nything that could

elevate his heart rate” could have caused Burnett’s death to any specialized knowledge.

(ECF No. 81-1 at 14.) While absolute certainty is not required, conjecture or

speculation is inadmissible. Goebel v. City of Denver & Rio Grande W. Ry. Co., 346

F.3d 987, 991 (10th Cir. 2003).

       For these reasons, the Motion is granted as to Dr. Hennings’s ninth opinion in its

entirety.

F.     Role of TASER in Burnett’s Death

       The Estate seeks to exclude Dr. Hennings’s opinion pertaining to whether Officer

Barth’s use of a TASER played a role in Burnett’s death:

              10.   What role did the TASER play in Mr. Burnett’s
              death?

              There is no evidence that the TASER played a role in Mr.
              Burnett's death. Notably, there was a significant time lapse
              between the time he was tased and when he went into
              cardiac arrest. There is also evidence showing that the
              TASER was not fully effective. It is extremely unlikely that
              the TASER contributed to the sudden cardiac death. This is
              also supported by the coroner’s report.

(ECF No. 81-1 at 14.)

       The Estate first challenges Dr. Hennings’s qualifications to opine on whether the

TASER played a role in Burnett’s death. Notably, Defendants do not respond to this

point. (See generally ECF No. 88 at 7.) Nor does Dr. Hennings’s report establish that



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he has any experience relating to TASERS or other electric weapons. Cf. Suarez v.

City of Hollywood, 2018 WL 11351533, at *2 (S.D. Fla. Nov. 9, 2018) (permitting

emergency medicine physician to testify as to his opinion “that the use of the Taser did

not contribute to Tyson’s death” where he had prior experience in “the physiologic

effects of TASER Electronic Control Devices [] on humans”); Bussey-Morice v.

Kennedy, 2013 WL 12149551, at *2 (M.D. Fla. Jan. 23, 2013) (cardiovascular, thoracic,

and trauma surgeon was “qualified to render a medical causation opinion . . . as to the

effects of tasering on the human body, particularly the heart” where he “ha[d] extensive

experience in operating other devices that transmit electrical shocks to a person” and

had “some knowledge of the effects of a taser, basic cardiac physiology and basic

knowledge in electrophysiology of a body”).

       The Court observes that another court in this District has held the fact that an

expert “does not have prior experience relating to the specific effects of TASERS” did

not “alone . . . automatically render him unqualified to proffer an opinion on the

physiological effects of a Taser charge.” Wilson v. City of Lafayette, 2010 WL 728336,

at *4 (D. Colo. Feb. 25, 2010). But the proponent there had minimally established the

expert’s “expertise in the areas of cardiology and clinical electrophysiology,” as well as

biomedical engineering and electrical engineering, and the expert had “researched the

medical literature surrounding TASERs . . . .” Id. at *4–5; id. at *5 n.5. By contrast, here

there is no evidence that Dr. Hennings has prior experience with or attempted to

educate himself on the impact of TASERs on humans. Cf. Neal-Lomax v. Las Vegas

Metro. Police Dep’t, 574 F. Supp. 2d 1193, 1203 (D. Nev. Sept. 2, 2008) (in products

liability case, excluding pathologist’s opinion that TASER was a contributing cause of




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death because “[d]espite his relative unfamiliarity with Tasers, [the expert] did not

educate himself on the Taser through reference materials”).7 Without more, the Court is

unprepared to say that Dr. Hennings’s experience as an emergency medicine physician

is alone sufficient.

       Given all this, the Court finds that Defendants have failed to establish Dr.

Hennings’s qualifications to render an opinion as to whether the TASER contributed to

Burnett’s death. See Ralston v. Smith & Nephew Richards, Inc., 275 F.3d 965, 970 n.4

(10th Cir. 2001) (the proponent “[bears] the burden of demonstrating to the district court

that [the expert] [is] qualified to render an expert opinion”).

       The Motion is therefore granted as to Dr. Hennings’s tenth opinion and he shall

be precluded from testifying at trial as to its contents.

G.     Whether Burnett Posed a Threat

       Finally, the Estate seeks to exclude Dr. Hennings’s opinion as to whether Burnett

was “violent” or posed a “possible immediate threat to others or to himself”:

               11.   Was there evidence that Mr. Burnett was violent
               and posed a possible immediate threat to others or to
               himself?

               Yes, the evidence is overwhelming that Mr. Burnett was
               acutely violent and threatening. He posed an immediate and
               significant risk to other people and to himself. He was
               physically and verbally aggressive. He damaged a
               neighbor's property. He had multiple weapons on hand. He

       7 Dr. Hennings’s opinion differs here insofar as he takes the opposite position—that is,

he opines “[i]t is extremely unlikely that the TASER contributed to the sudden cardiac death.”
(ECF No. 81-1 at 14.) Nonetheless, the Court notes that courts in this District have excluded
expert opinion concerning TASERs as a potential cause of death where the opinion was “based
almost exclusively on the temporal proximity between the TASER charge and [the decedent’s]
death.” Wilson, 2010 WL 728336, at *10. The Court similarly concludes here that, even were
Dr. Hennings qualified, evidence of the temporal proximity between the TASER and Burnett’s
death is “not of the sort requiring [Dr. Hennings’s] proffered testimony on that specific issue.” Id.
at *10 n.12.



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              was threatening to kill multiple people. He had a history of
              violent behavior. Neighbors expressed concern for their
              lives.

(ECF No. 81-1 at 14.)

       The Estate contends that this is not a proper expert opinion and “[w]hether

Burnett was a threat to himself or others should be determined by a jury.” (ECF No. 81

at 8.) Defendants counter that Dr. Hennings’s opinion would be helpful to the jury

because it shows that Burnett met the criteria of Colorado Revised Statute (“C.R.S.”)

§ 27-65-106(1)(a)(II)—a statute pertaining to when an “intervening professional” may

authorize a person experiencing a mental health disorder to be taken into protective

custody and placed under an emergency mental health hold.

       Defendants’ argument as to the relevance of Dr. Hennings’s eleventh opinion is

far-fetched. As far as the Court is aware, the Colorado statute upon which Defendants

rely has never been raised in this lawsuit previously. Nor does any claim in this case

turn on whether Burnett should have been placed under an emergency mental health

hold in accordance therewith. The jury may determine for themselves whether Burnett

was “violent” and “posed a possible immediate threat to others or to himself.” See

Thompson v. State Farm Fire & Cas. Co., 34 F.3d 932, 941 (10th Cir. 1994) (“where . . .

expert testimony is offered on an issue that a jury is capable of assessing for itself, it is

plainly within the trial court’s discretion to rule that testimony inadmissible because it

would not even marginally ‘assist the trier of fact’”).

       The Motion is therefore also granted as to Dr. Hennings’s eleventh opinion in its

entirety.




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                                   III. CONCLUSION

       For the foregoing reasons, the Estate’s Motion to Exclude Expert Testimony of

Lucas Hennings, MD (ECF No. 81) is GRANTED IN PART and DENIED IN PART as

more fully set forth above.


       Dated this 3rd day of February, 2025.

                                                BY THE COURT:



                                                ______________________
                                                William J. Martinez
                                                Senior United States District Judge




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